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AO 106 (Rev. 04/ 10) Application for a Search Warrant



                                       UNITED STATES DISTRICT COURT                                                          '   .   "·I'•
                                                                                                                                             '- •-' .; ' J

                                                                       for the                                     2u:aS:P I r ';, ...') : I+ ,              0
                                                            Southern District of Ohio

              In the Matter of the Search of                             )
          (Briefly describe the property to be searched                  )
           or identify the person by name and address)                   )        Case No.     3 :20MJ432
                                                                         )
              249 Shank Avenue, Dayton, Ohio                             )
                                                                         )
            APPLICATION FOR A SEARCH WARRANT BY TELEPHONE OR OTHER RELIABLE
                                                ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location) :
  See Attachment E


located in the              Southern               District of        Ohio    , there is now concealed (identify the
                   - - - -- - - -
person or describe the property to be seized):
                                                                 ------------
 See Attachment F
          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):

                 ~ evidence of a crime;
                 ~ contraband, fruits of crime, or other items illegally possessed;
                 ~ property designed for use, intended for use, or used in committing a crime;
                0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                  Offense Description
        21 USC s . 841(a)(1)/846           possession with intent to distribute controlled substances/conspiracy
        21 USC 843(b)                      use of a communication facility to facilitate a felony drug crime
        18 USC 922(9)(1)/1956/1957         felon in possession of a firearm/money laundering

          The application is based on these facts:
        See Attached Affidavit of Steven Lucas

          ~    Continued on the attached sheet.
          0    Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested

               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                        ~               rvi ApJ J ! i i i i ;ure
                                                                                         Steven Lucas, SA of the DEA
                                                                                              Printed name and title

Sworn to before me and affirmed in my presence via reliable electronic means.


Date:     9/11/20
                                                                                               Judge's signature

City and state: Dayton, Ohio                                                      Sharon L. Ovington, US Magistrate Judge
                  - ~-- - - - - - -- - -                                                     Printed name and title
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                  AFFIDAVIT IN SUPPORT OF APPLICATION

I , Steven Lucas , hereby duly sworn , declare and state:

                                    I .

                              INTRODUCTION

      1.     I am a Special Agent ( "SA" ) of the Drug Enforcement

Administration ("DEA" ) .    I therefore am an officer of t he United

States who is empowered by law to conduct investigations of , and

to make arrests for , offenses enumerated in 21 U. S . C. § 878 .

      2.     I have been a DEA SA since June 2005 and currently a m

assigned to t he Dayton Resident Office .      Prior to becoming a SA,

I was a police officer with the Schererville Police Department

between 1995 and 2005.      During that time, I was assigned to the

DEA HIDTA group in Merrillville , Indiana for approximately 4

years .    I have conducted and participated in complex drug

trafficking conspiracy and money laundering i nvestigations which

have res u lted in arrests ; execution of search warrants that

resulted in the seizure of narcotics , narcotics proceeds and

other evidence of narcotics trafficking activities; and

supervised the activities of cooperating sources (CS ) that have

provided information and assistance resulting in narcotics

purchases . Through training and experience, I am familiar with

the manner in which persons involved in the i l li c it distribution



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of controlled substances often operate.          These people usually

attempt to conceal their identities , as well as the locations at

which they reside , and where they store controlled substances

and the illegal proceeds derived therefrom .         Through training

and experience ,    I am familiar with the practices of narcotics

distributors , whereby they attempt to conceal the true nature,

source and location of proceeds of illegal activity, commonly

referred to as money laundering.          I have participated in several

Title-III wiretap investigations and am familiar with how local

drug traffickers and high level traffickers conduct

transactions.

                                   II .

                          PURPOSE OF AFFIDAVIT

     3.    I make this affidavit in support of search warrants

associated with a drug trafficking organization operating in the

greater Dayton , Ohio area .    The application seeks the issuance

of search warrants for the following addresses:

           a.       236 Southerly Hills Drive , Englewood, Ohio

(Target Residence 1) .     This property is more fu ll y described in

Attachment A, which is attached hereto and incorporated herein

by reference ;

           b.      507 S Euclid Avenue , Dayton, Ohio (Target



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Residence 2) .   This property is more fully described in

Attachment B, which is attached hereto and incorporated herein

by reference.

            c.   1107 Rossiter Drive, Dayton , Ohio (Target

Residence 3) .   This property is more fully described in

Attachment C, which is attached hereto and incorporated herein

by reference ;

            d.   4215 Sheller Avenue , Dayton , Ohio (Target

Residence 4).    This property is more fully described in

Attachment D, which is attached hereto and incorporated herein

by reference .

            e.   249 Shank Avenue , Dayton, Ohio (Target Residence

5) .   This property is more fully described in Attachment E,

which is attached hereto and incorporated herein by reference .

(collectively , "the Subject Properties " ) .

       4.   As det ailed more fully below, based on the

investigation in this case , I assert that there is probable

cause to believe that evidence , contraband , and the fruits

associated with the following federal felony offenses

(collectively , " Target Offensesu) is being stored at or can be

found in the Subject Properties , including surrounding

curtilage , outbuilding , or garages associated with those



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properties :

           a.    Possession with intent to distribute a controlled

substance and distribution of a controlled substance , in

violation of Title 21 , United States Code , Section 841 (a ) (1) ;

           b.    Unlawful use of a communications facility , in

violation of Title 21 , United States Code , Section 843(b) ;

           c.    Conspiracy to commit offenses under Title 21 , in

violation of Title 21 , United States Code , Section 846 ;

           d.    Felon in possession of a firearm , in violation of

Title 18 , United States Code , Section 922(g) (l) ;

           e.    Money laundering , in violation of Title 18 ,

United States Code , Sections 1956 and 1957 .

     5.    Based on my training and e xperience , as described

above , I believe that there is probable cause to believe that

the items listed in Attachment F will be found at the premises

described above .

                                  III .

                       SOURCES OF INFORMATION

     6.    I am fa~iliar with the facts and circumstances

described herein and make this affidavit based upon personal

knowledge derived from my partici pation in thi s investigation ,

conclusions I have reached ba s ed on my training a nd e x perience ,



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and upon information I believe to be reliable from the following

sources : oral and written reports about      this investigation and

other investigations that I have received from federal agents as

well as state and local law enforcement agencies; physical

surveillance conducted by federal and local law enforcement

agents, the details of which have been reported to me either

directly or indirectly ; telephone records , including toll

records and subscriber information ; information developed from

cooperating sources; information developed from the use of pen

registers and/or trap and lrace ; public records; and electronic

global position satellite ("GPS ") information for various cell

phones .

      7.   Unless otherwise noted , when I assert that a statement

was made , I received the information from a l aw enforcement

officer who provided the information to me , either verbally or

in a written report .    The officer providing me with the

information may have received the information by way of personal

knowledge or from another source.       Except where otherwise noted ,

the information set forth in this affidavit has been provided

directly or indirectly by agents of the DEA or other law

enforcement agencies.     Whenever in this affidav it I assert that

a statement was made, the information was provided by another



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law enforcement officer (who may have had either direct or

hearsay knowledge of the statement) to whom I have spoken or

whose report I have read and reviewed.        Moreover, the use of

quotations to describe conversations herein either identify the

actual words of the speaker or the interpretation of those

words.

      8.      This affidavit does not include every fact known to me

through the investigation , but rather those facts required to

establish the probable cause for the issuance of search warrants

requested above.

                                   IV .

                             PROBABLE CAUSE

      9.      Since early 2020, the DEA Dayton has been

investigating several individuals who appear to work together to

traffic kilogram quantities of various controlled substances

such as fentanyl , heroin , and methamphetamine in the Dayton ,

Ohio area .    The group includes an individual currently on post-

release control to the Ohio Department of Rehabilitation and

Corrections - namely, Adrian Little .

     10.      During 2007-2008, Affiant participated in a drug

investigat ion involving Little in the Dayton, Ohio area.         DEA

and the Greene County Drug Task Force arrested Little on drug



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charges around that time .     He was convicted of drug charges in

state court and sentenced to over a decade in prison.          During

that investigation , agents learned that Little was being

supplied by a large Mexican based drug tra fficking organization

with ties to Dayton, Ohio .

      11 .   During early 2020 , DEA received information that

Little recently was released from Ohio state prison and once

more was involved with distribution of drugs in Dayton, Oh io.

Specifically, based on conversations with a confidential source

("CS") in March 2020, Affiant learned that Little was again

trafficking drugs .    CS sta ted that he/she has known Little for

several years and was aware that Little had been released from

Ohio state prison for drug trafficking.       The CS advised that

he/she had received information from Little ' s drug customers who

indicated that Little had a Hispanic source of supply for drugs

and that Little currently was obtaining kilogram quantities of

fentanyl .    It should be noted that the CS is considered

reliable ; the CS has provided information in the past that has

led to arrests as well as the seizure of bulk amounts of

controlled substances .

     12 .    During June and July 2020 , investigators again spoke

with the CS .    The CS confirmed that Little was still e ngaged in



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drug trafficking activity and Little was working with other

subjects including Mack Do rsey and DeAaron Davis .       From a review

of court records , Affiant knows that Dorsey has a lengthy

criminal record , including a prior federal drug trafficking

conviction in 2016 .     Dorsey ' s federal supervised release on that

charge terminated in June 2020.

      13 .    On March 29 , 2020 , Affiant was contacted by another

DEA office which was conducting an investigation into laundering

of drug proceeds by drug traffickers based outside of the United

States .     Affiant learned that a drug trafficker in Dayton , Ohio

had secured a contract for pick-up and delivery of suspected

drug proceeds to this drug organization .      Based on the other

investigation , the Dayton RO was able to utili ze a DEA SA ,

acting in an undercover capacity ( " UC") , to contact the Dayton

based drug trafficker (later identified as being Little ) and

arrange the pickup of the suspected drug proceeds .

     14 .    On March 31 , 2020 , the UC contacted a cellular

telephone determined to be used by Little and arranged to meet

with Little.     During the recorded conversations between Little

and the UC , Little stated that he had money for pick up but that

he would not meet anywhere near Greene County .       Little further

stated that he previously was arrested and had served 12 years



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 in prison on a case out of Greene County .       Little ' s reticence to

 meet in Greene County strongly indicates that the money that he

 sought to deliver constituted drug proceeds .

       15 .   On March 31 , 2020 , the meeting took place between the

 UC and Little in Huber Heights , Ohio .       Little delivered

 approximately $33 , 000 in US currency that was rubber banded and

 placed in a plastic bag .     (Based on my training and experience ,

 I know drug traffickers frequently bundle drug proceeds in this

 manner) .    Little had multiple recorded conversations using

 (308)209-0896 phone during the pickup ope ration .       Based on my

 training and experience and the circumstances described above , I

believe that Little was delivering drug proceeds for transport

 to his sour ce of drug supply.     Law enforcement obtained a court-

authorized ping fo r    (308)209-0896 , and the location information

for the phone - while not precise - placed it in the

neighborhood of Target Residence 1 during spring 2020 .

      16 .    Sometime after this transaction, Affiant contact APA

concerning Little and confirme d his current status on post-

release control .    Additionally , Affiant inquired concerning any

addresses that Little had disclosed as his residence to his

parole offi cer .   Little had advised APA that he resided at

Target Residence 2.     Little never mentioned or disclosed to APA



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 any connection that he had with Target Residence 1, Target

 Residence 3 , or Target Residence 5 .     Based on my training and

 experience, I know that individuals who are on parole frequently

 hide from their supervising officer locations at which they

 engage in or transact illegal activity.        Because many parolees

 such as Little are subject to search and seizure conditions,

 they do not want to advise the APA concerning these locations

 for fear that these alternate residences will be searched and

 their illegal activity discovered .

      17.        During June 2020 , the Dayton Residence Office was

 contacted by another DEA Office about a money pickup operation

 in which $150 , 000 in United States currency was to be laundered

 through a drug money courier .     Affiant learned that a drug

 trafficker {FNU LNU) in Dayton, Ohio had secured a contract for

 the pick-up and delivery of suspected drug proceeds to this drug

organization .    Affiant learned that the other investigation had

made recorded calls to 937 - 250 - 9642 to negotiate the pickup of

the currency .    Upon listening to the call , law enforcement

confirmed that the voice of the user of 937-250-9642 matched

that of Little during the March 2020 money pickup .

Consequently , law enforcement concluded that Litt l e was the

individual in Dayton , Ohio planning to transfer t he drug



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 proceeds .    Surveillance described below further confirmed Little

 as the user of this telephone .      To the knowledge of law

 enforcement , the money pickup did not occur.

       18.    On June 24 , 2020 , a court authorized GPS ping was

 obtained for cellular telephone 937-250-9642 .           During late June

 2020 , the pings placed the phone in the area of Target Residence

 1.   That same day , investigators conducted surveillance at

 Target Residence 1 and subsequently observed Little departing

 that residence .    On the same day , Little was observed parking

 near Target Residence 2 .      While agents did not physically

 observe Little enter the door of that residence, they believe

 t hat he we nt inside of it.

      19 .    Affiant is aware of a coop erating defe ndant ( " CD" ) who

i s pending federal charges and gave statements to federal

investigators during June 2020 .          The CD prov ided information

within his/her own personal knowledge , and the CD' s statements

have been corroborated by the CS .          Later physical surveillance

a l so corrobor ated CD ' s statements .    According to CD , CD

witnessed Little sell narcotics to an associate of Lhe CD .          CD

further stated that Little also sold narcotics with Dorsey .

Based on the CD ' s statements , the timeframe of h i s knowledge of

Little concerned April and May 2020 .



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       20 .     In August 2020 , federal agents obtained a tracking

 warrant for Little's 2014 Jeep .        (Prior to obtaining that

 warrant , agents had observed Little driving that vehicle) .

 Since obtaining the warrant to the present, Little's vehicle

 generally ends the day parked at Target Residence 1 and does not

 move again until the morning .     While the car was not there every

 night during that period , it was there o v er most nights .       This

 circumstance strongly indicates that Little resides at Target

 Residence l even though he never disclosed it to APA.

       21.    Over tha t same time - namely , since installation of

 the tracking device during August 2020 and the present -- Little

 routinely travels to both Target Residence 3 and Target

 Residence 5 during the day time .       For instance , the Jeep which

 Little drives travelled to Target Residence 3 and 5 as recently

 as September 10 , 2020 .    Affiant learned Target Residence 3 was

p u r chased in July 2020 by Macnificent Investments LLC .       Affiant

 learned that his company was created by Little in July 2020, and

it listed Target Residence 2 as the mailing address for the LLC .

Little also purchased Target Residence 5 in August 2020 through

the LLC .     Affiant is aware drug traffickers often will open

limited liability corporations and use them to facilitate

transactions of property to hide the fact that drug proceeds are



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 being used to make the purchases .      I have spoken with APA ,    and

 it indicated that the y have no information concerning Little's

 employment status.     Notably, while conducting surveillance of

 Little since April 2020 , investigators have never observed him

 report to a job.     Based on the foregoing , Affiant believes that

 Little purchased Target Residence 3 and Target Residence 5 with

 drug proceeds, not funds from legitimate employment.

        22.   During August 17 , 2020, agents conducted surveillance

 at Target Residence 4.     At that time , law enforcement observed a

 car arrive at Target Residence 4 and its driver walk to the door

of the residence.     The driver briefly entered the residence and

 then left with a bag .    The driver re - entered the car and pulled

away.     When a surveillance vehicle positioned itself behind the

car,    it immediately pulled to the side of the road and waited

for the surveillance vehicle to pass .       Moments later,

surveillance observed a person , later identified as Dorsey, exit

Target Residence 4 talking on his cellular telephone.          Dorsey

looked up and down the street.       Based on this chain of events, I

believe that the person arrived at Target Residence 4 , obtained

drugs from Dorsey and drove away .       Upon spotting surveillance

units , the person contacted Dorsey who exited Target Residence 4

to search for law enforcement.



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       23.     In late August 2020, investigators placed a pole-type

 camera facing Target Residence 4 .       From that time to the

 present , law enforcement have observed Dorsey coming and going

 from the location on multiple occasions .       (DEA has confirmed

 that the utilities to Target Residence 4 are also in Dorsey ' s

 name) .     Additionally, throughout this same time , agents observed

Little at Target Residence 4 with Dorsey on multiple occasions.

 For instance , on August 28 , 2020 , Little was observed arriving

at Target Residence 4 and meeting with Dorsey.         After the

meeting , Little left the residence wi th a small package of

unknown contents.       It should be noted that , around this time , CS

confirmed that Little and Dorsey were trafficking drugs

together.

      24 .     Additionally , during February 2020 , Dayton Police

executed a warrant at Dorsey ' s then address , located at 625

Kennelworth Avenue , Riverside , Ohio .     While drugs were not

located inside of the residence duri n g the search , police did

recover methamphet a mine outside of the house .      Additionally , as

noted above , Dorsey has a lengthy criminal history including ,

possession of heroin , improper handling of a firearm , fleeing

law enforcement and aforementioned federal drug conviction .




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       25 .     In September 2020 , CS advised Affiant that Dorsey and

 another individual were in an ongoing dispute .         The CS stated

 he/she has been told Dorsey intends to shoot/kill the subject

 and has made it known that he (Dorsey) has guns on him at all

 times .      Coupling this circumstance with Dorsey's involvement in

 the drug trade, Affiant believes it is highly likely that

 firearms are located at Target Residence 4 .

       26 .       Based o n the foregoing as well as my knowledge of

 drug trafficking modus operandi described below , I believe that

 Little , Dorsey , and others are currently engaged in a lengthy ,

 ongoing drug trafficking scheme .        Little ' s involvement in one

 completed and one contemplated drop of drug trafficking proceeds

 is strongly indicative of his ongoing drug trafficking activity.

 Indeed , he possessed a large s um of United States currency

during spring 2002 and acquired two properties in the Dayton

area during summer 2020 - namely, Target Residence 3 and Target

Residence 5 - despite his apparent lack of employment .          Two

individuals - the CS and CD , both of whom have been corroborated

and deemed reliable - further implicate Little and Dorsey in

drug trafficking activity .      That activity is linked to the

Subject Properties .      Little lists Target Residence 2 as a

mailing address for the LLC that he uses as a likely front for



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 his drug trafficking activity and a means through which he can

 launder illegally gotten proceeds .       Target Residence 2 will

 likely contain , among other things , paperwork associated with

 the LLC that wi ll reveal properties and assets that Little has

 acquired through the use of drug proceeds .        Little appears to

 live a t Target Residence 1 and makes daily visits to Target

Residence 3 and Target Residence 5 .        He has not disclosed any of

 these three homes to the APA - a strong indicator that he has

hidden contraband , including drugs, currency , and firearms at

one or more of these residences .        Additionally , Little 's near

daily visits to these locations further indicates that he keeps

items of value to him at these homes - likel y drugs , currency ,

and firearms .    Location data has placed him or his vehicl e at

each of these residences on a frequent basis .        Additionally ,

Target Residence 4 also likely contains evidence of drug

trafficking acti vity as well as indicia of a felon in possession

of a firearm .   Agents have obs erved Little and Dorsey together

at this residence , and two individuals have identified these two

men as drug trafficking confederates .        Law enforcement has

observed activity at this location that , in light of that

information , appears consistent with drug trafficking activity -

such as the incidents described in Paragraphs 22 and 23 above .



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 Furthermore , information from CS indicates that Dorsey , a

 convicted felon who lives at Target Residence 4, always carries

 firearms with him.     Based on my training and experience, I know

 that drug traffickers frequently keep contraband - including

 drug proceeds,    firearms , and other assets used to facilitate

 their drug trade -- at locations over which they control.

       27 .   Moreover , based on my training and experience, I know

 that drug traffickers frequently engage in the following common

 practi ces and activities :

              a.   It is common practice for drug traffic ke rs to

 hide their assets , their addresses , their telephone numbers and

 cellular services by using other person ' s names in o rde r to

 av oid detection by law enforcement offici a ls .

              b.   It is common practice for drug traffickers to

 often maintain residences which are used as "stash housesn or

 locations for drug storage and distribution , and use "nomineesn

 to ob~ain telephone service, utility service , and other services

 to hide the true identity of the owner or person who will use

 t hat service .

              c.   That drug traffickers often place assets in

 corporate entities in order to avoid detection of those assets

by law enforcement officials.



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              d.   It is common practice, that even though these

 assets are in nominee names , drug traffickers will continue to

 ucilize these assets by exercising domin~on and control over

 them.

              e.   It is common practice that drug traffickers

 possess large amounts of U. S. Currency in order to finance their

 ongoing illicit drug business and keep this contraband at their

 personal residences or at stash houses.

              f.   It is common practice that ,   at their residences

 or stash houses , drug trafficke rs maintain books, records ,

 receipts, notes, ledgers , airline tickets, money orders , and

 other documents relating to the transportation and distribution

 of drugs .    Drug traffickers commonly front    (provide drugs on

 consignment) to their clients .     The books, records , receipts ,

 notes, ledgers, and other documents are kept where the drug

 traffickers have ready access to them , such as their residences

 or at stash houses.

              g.   It is common for drug traffickers to provide

 false information to law enforcement officials regarding cheir

 identity and the address of their actual residence .

              h.   That persons involved in drug trafficking conceal

from law enforcement in their residences , vehicles, and



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 businesses the following items : drugs , large amounts of

 currency , financial instruments , jewelry, automobile titles ,

 other items of value and/or proceeds of drug transactions , and

 evidence of financial transactions relating to the acquisition

 and concealment of large sums of money resulting from drug

 trafficking activities .

            i .   When drug traffickers amass large proceeds from

 the sale of drugs , they attempt to hide the true source of these

profits , otherwise known as laundering the money . To accomplish

 this , drug traffickers many times utilize banks and/or financial

 institutions with their attendant services , including but not

limited to , cashier ' s checks , money drafts , and letters of

credit .   Other entities used to launder drug proceeds include

r eal estate firms and purported legitimate business fronts.

Drug traffickers frequently keep such records at their

residences or at stash houses.

            j.    Drug traffickers commonly travel to facilitate

their trafficking actjvities . After purchasing drugs ,

traffickers commonly transport, or cause to b e transported ,

drugs to areas in which they will be distributed . Common methods

of transportation include , but are not limited to , commercial

a irlines , and rental/private automobiles .     Drug traffickers



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 frequently keep records relating to such travel at their

 residences or at stash houses .

               k.      It is common practice that drug traffickers

 commonly maintain books and similar documents which reflect

 names , addresses , and/or telephone numbers of their associates

 in the drug trafficking organization .         This information can

 often be stored in cellular phones in places such as the

 contacts list.         Drug traffickers frequently keep such materials

 at their residences or at stash houses .

             l .       Drug traffickers often take, or cause to be

 taken , photographs of themselves , their associates , their

property and their product , and that the photographs are usually

maintained at the residences , businesses , stash houses of drug

t r affickers.       Photographs such as these can commonly be found

and s t ored in cellular phones and other electronic media , such

as computers and tablets .

            m.        Drug traffickers commonly have in thei r

possession ,        (that is on their person , at their residence , stash

houses , and/or their business) weapons , including firearms of

va r ious types .      Firearms are used to protect and secure a drug

trafficker ' s property which may include , but is not limited to ,




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 narcotics , jewelry, narcotics paraphernalia , books , records, and

 U.S. Currency .

            n.     Drug traffickers frequently maintain hidden

 compartments within their residence , stash houses and vehicles

 to hide drug trafficking evidence (money , ledgers , drugs , etc.) ,

 bury evidence in containers such as shoe boxes, or hide the

 evidence in safes .

            o.     The exact quantities , prices, dates , and methods

 of delivery of drugs are seldom discussed in detailed terms over

 the telephone .   These details are usually agreed upon during

 face-to-face transactions .     For this reason, most telephone

 conversations regarding drugs are very brief and often in code,

understood by the traffickers and designed to mislead or confuse

non- participants of the conversations .      Drug traffickers make

extensive use o f cellular phones and text messaging

beepers/pagers to facilitate contacting one another .         When

calling a beeper or text messaging ,      traffic kers commonly input

the number that shou l d be called and sometimes add additional

instructions in the form of additional digits . The structure of

a drug distribution organization usually consists of sources of

supply , wholesale distributors , retail distributors , and the

ultimate consumers .    The wholesale distributors often have more



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 than one source of supply, and likewise the retail distributors

 often obtain drugs from more than one wholesale distributor.

 After receiving a quantity of drugs, the source of supply will

 often move the drugs to a location other than where he/she sells

 them to the wholesale distributors.       The location of the source

 of supply ' s so-cal led "stash houseu is generally a well-guarded

 secret known only to the source of supply and his closest

associates .     Most of the drugs , as well as diluting and

packaging materials and weighing equipment , are usually kept at

the "stash house." Only those amounts needed for immediate sale

are usually kept at the point of sale .

            p.    Evidence of past communication between drug

traffickers can be found in saved or deleted text messages , call

logs , and other forms of electronic communication occurring

over , stored in, or accessed by the cellular phone .

            q.    I have repeatedly encountered a practice wherein

drug traf fickers distribute a cellular telephone number to their

drug customers , often described by traffickers as a "money

phone."   The money phone is used primarily to communicate with

those customers .    The customers will subsequently call the

trafficker o n that cellular telephone number to arrange a

purchase of drugs as needed .     The trafficker will many times



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   field calls from several customers at once, and then direct all

   those customers to travel in their car to a designated meeting

   point.    Once all the customers have driven to the designated

   place, the drug trafficker will appear in his vehicle , quickly

   conduct hand to hand drug transactions with each customer , and

   then drive away .       Drug traffickers often maintain money phones

  at their homes , stash houses , businesses or on their person.

         Based on the foregoing , I respectfully submit that there is

  probable cause to issue search warrants for the above - described

  location


  Steven Lucas
  Special Agent
  Drug Enforcement Administration


  Sworn and subscribed before me on the         11th   day of
   September    2020.




Sharon L. Ovington
United States Magistrate




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                                ATTACHMENT A

       236 Southerly Hills Drive, Englewood, Ohio , including any

 outbuildings, garages, sheds or curtilage at this location.           The

 residence is depicted below:




                                    24
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                               ATTACHMENT B

       507 S Euclid Avenue , Dayton , Ohio , including any

 outbuildings a.nd curtilage at this location .       The residence is

 depicted below :




                                    25
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                               ATTACHMENT C

      1107 Rossiter Drive , Dayton , Ohio , inc1uding any

outbui1dings and curti1age at this 1ocation .        The residence is

d e picted below :




                                    26
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                               ATTACHMENT D

       4215 Sheller Avenue , Dayton , Ohio , including any

 outbuildings and curtilage at this location.         The residence is

 depicted below:




                                    27
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                               ATTACHMENT E

      249 Shank Avenue, Dayton , Ohio , including any outbuildings

and curtilage at this location.          The residence is depicted

below:




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                               ATTACHMENT F

 I submit that there is probable cause to search for the

 following items :

    A.    Log books , records , payment receipts , notes, and/or

          customer lists , ledgers , and other papers or electronic

          records relacing to the transportation , ordering ,

          purchasing, processing , and distribution of controlled

          substances.

    B.    Papers, tickets, notices , credit card receipts, travel

          schedules, travel receipts , passports , and/or records ,

          and other items relating to domestic and foreign travel

          t o obta in and distribute narcotics and narcotics

          proceeds , including , but not limited to airline

          receipts , vehicle rental receipts , credit card receipts ,

          travel schedules , diaries , hotel receipcs , truck logs,

          travel agency vouchers , notes , records of long distance

          telephone calls , e-mail and other correspondence .

    C.    Address and/or telephone books and papers re flecting

          names , e-mail and physical addresses and/or celephone

          numbers of individuals , partnerships , or corporations

          involved in drug trafficking and money laundering .




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     D.    Financial records , financial statements , receipts ,

           statements of accounts and related bank records , money ,

          drafts , letters of credit , money orders and cashier ' s

          checks receipts , passbooks, bank checks , escrow

          documents , and other items evidencing the obtaining ,

          secreting , transfer , and/or concealment of assets and

          the obtaining , secreting , transferring , concealment ,

          and/or expenditure of money .

    E.    Electronic equipment such as pagers , computers ,

          electroni c organizers , facsimile machines , cellular

          telephones , caller ID , telephone answering machines ,

          police scanners and two- way radios .

    F.    United States currency , precious metals , coins bullion ,

          jewelry, and financial instruments , including , but not

          limited to s tocks and bonds .

    G.    Proceeds of drug trafficking activity or any items used

          to facilitate drug trafficking activity , including

          automobiles .

    H.    Photographs and/or photographic a lbums or video capes

          and recordings of houses and other real estate ,

          automobiles , and of other assets , persons , and/or

          controlled substances .



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    I .   Indicia of occupancy , residency , and/or ownership of the

          premises , and vehicles including , but not limited to

          utility and telephone bills , canceled envelopes , keys ,

          deeds , tax bills , titles , vehicle registrations and

          documentation regarding storage units/lockers .

    J .   Illegal drugs , including , but not limited to fentanyl ,

          methamphetamine , heroin and other controlled substances ,

          and other tools used in the drug trade , including , but

          not limited to , scales , vacuum sealers , packaging

          material , presses , razor blades and cutting agents.

    K.    Firearms and ammunition .

    L.    Any computers , cellular telephones , tablets or

          electronic devices that may contain the above - described

          documents or items in electronic format .

   M.     Text messages , instant messages and the like that

          concern or relate to drug trafficking activity ,

          including , but not limited to , sale prices , d r ug

          quantities, customers , sources of supply , or storage

          locations .

   N.     Records , documents , or items reflecting indicia of

          occupancy or ownership at a residence .




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